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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                            SAN JOSE DIVISION
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                                  12     MAXIMILIAN KLEIN, et al.                          Case No. 20-CV-08570-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                         ORDER GRANTING MOTIONS TO
                                                                                           RELATE AND CONSOLIDATING
                                  14             v.                                        CASES
                                  15     FACEBOOK, INC.,                                   Re: Dkt. Nos. 48, 49
                                  16                   Defendant.

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                                              The Court GRANTS: (1) Facebook’s motion to relate Kovacevich v. Facebook, Inc., No.
                                  18
                                  19   21-CV-01117-JCS (N.D. Cal. filed Feb. 15, 2021), to the above captioned case, ECF No. 48; and

                                  20   (2) Rita Garvin’s motion to relate Garvin v. Facebook, Inc., No. 21-CV-00618-KAW (N.D. Cal.

                                  21   filed Jan. 26, 2021) to the above captioned case, ECF No. 49. The Court consolidates these class
                                  22
                                       action cases with the above captioned case.
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                                       IT IS SO ORDERED.
                                  24
                                  25   Dated: February 25, 2021

                                  26                                                  ______________________________________
                                                                                      LUCY H. KOH
                                  27                                                  United States District Judge
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                                       Case No. 20-CV-08570-LHK
                                       ORDER GRANTING MOTIONS TO RELATE AND CONSOLIDATING CASES
